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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 PARAGON OFFICE SERVICES,                         §
 LLC; OFFICE SURGERY SUPPORT                      §
 SERVICES, LLC; PARAGON                           §
 AMBULATORY PHYSICIAN                             §
 SERVICES, P.A.; and                              §
 AMBULATORY HEALTH SYSTEMS,                       §
 LLC                                              §
                                                  §
                                                               Civil Action No. 3:11-cv-1898-L
         Plaintiffs,                              §
 v.                                               §
                                                  §
 AETNA HEALTH INC. and AETNA                      §
 LIFE INSURANCE COMPANY                           §
                                                  §
         Defendants.                              §


                 JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS
                    WITH PREJUDICE UNDER RULE 41(a)(1)(A)(ii)


        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties—Plaintiffs

Paragon Office Services, LLC, Office Surgery Support Services, LLC, Paragon Ambulatory

Physician Services, P.A., and Ambulatory Health Systems, LLC; Defendants Aetna Health Inc.

and Aetna Life Insurance Company; and Third-Party Defendants Paragon Anesthesia Associates,

P.A. and Dr. Neal Fisher—hereby stipulate to the dismissal with prejudice of all their respective

claims and causes of action asserted in this action. In support, the Parties would show that they

no longer wish to pursue their respective claims and causes of action, and that all Parties have

signed this Stipulation, thereby dismissing this action under Rule 41(a)(1)(A).




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                                      Respectfully submitted,

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                                      *signed by permission by Laura Trenaman




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                               CERTIFICATE OF SERVICE

        On October 24, 2016, I electronically submitted the foregoing document with the
clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic
Filing” to the following attorneys of record who are known “Filing Users:”

                Martin E. Rose
                Bryan P. Rose
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                                                    s/M. Katherine Strahan
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